Case 4:20-cv-03709 Document 26-9 Filed on 11/01/20 in TXSD Page 1 of 4




     EXHIBIT 9
    Case 4:20-cv-03709 Document 26-9 Filed on 11/01/20 in TXSD Page 2 of 4




                                UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


STEVEN HOTZE, M.D.; WENDELL
CHAMPION; HON. STEVE TOTH; and
SHARON HEMPHILL,

                    Plaintiffs,                       Case No.: 4:20-cv-03709

             v.

CHRIS HOLLINS, in his official capacity
as Harris County Clerk,

                    Defendant.


                           DECLARATION OF ELIZABETH FURLER
                                (pursuant to 28 U.S.C. § 1746)

       My name is Elizabeth Furler. I am over the age of 21 and fully competent to make this

declaration. Under penalty of perjury, I declare the following based upon my personal

knowledge:

       1.         I currently live in Houston, Texas and am a registered voter at my current address.

I have been registered in this county for twenty years. I vote in every election because I believe it

is my civic responsibility. I believe that if you don’t vote, you don’t have a right to complain.

       2.         I am 53 years old, white, and a registered Republican. My husband and son are

Republicans and are in the NRA. My son is a competitive shooter.

       3.         I have several preexisting medical conditions. I have Common Variable

Immunodeficiency, an antibody deficiency that makes your immune system unable to defend

against viruses, and Sjogren’s Syndrome, another autoimmune disease. I am also Lupus positive.

My health condition weighed in to my decision to cast my ballot via drive-thru voting.
    Case 4:20-cv-03709 Document 26-9 Filed on 11/01/20 in TXSD Page 3 of 4




       4.      I have a medically fragile, 22-year-old son with a neurological autoimmune

disease. COVID-19 could kill him, so my family keeps potential COVID-19 exposure at an

absolute minimum. Any time I go out to run an errand, I know I’m running a great risk.

       5.      On October 27, 2020, I cast my vote in the November General Election at the

Houston Community College drive-thru polling site. I chose to vote early to make sure my vote

got counted and to avoid long lines.

       6.      The drive-thru voting felt safe and secure. As I drove up to the drive-thru polling

site, a man directed me to my own tent. The poll-worker asked for my driver’s license and

entered my information into their log, like they do in person. I signed their document and

received an authorized code. The man wore a mask the whole time.

       7.      I learned about drive-thru voting from social media. It felt just like in-person

voting. I was the only voter in my car. The poll-worker handed me the touchscreen machine,

then stood ten feet away from my vehicle as I voted. There were signs saying no electronic

devices were allowed. I cast my vote exactly as I would have inside the facility.

        8.     Drive-thru voting was an obvious choice, as it presented a clear opportunity to

minimize risks to myself and my family. I’m strict with my COVID-19 safety practices. I always

wear a mask in public. I don’t touch doorknobs and handles. I work in speech therapy, but I

conduct it mostly via teletherapy. My family tries to social-distance at all times. We exclusively

socialize with our “pod” of fourteen people. I avoid crowds and enclosed spaces.

       9.      I believe this is a very important election year, so if my ballot from drive-thru

voting were invalidated, I would do everything in my power to vote in person on Election Day.

But it would be a big burden. I’d have to rearrange my entire work schedule. Worse, I’d have to

risk not only my own health, but the health and well-being of my son.
    Case 4:20-cv-03709 Document 26-9 Filed on 11/01/20 in TXSD Page 4 of 4




I declare under penalty of perjury that the foregoing is true and correct.

Executed on November 1, 2020


/s/Elizabeth Furler
Elizabeth Furler
